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                UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

JOSHUA B. WHITAKER,

              Plaintiff,

v.                                                   Case No. 5:18-cv-51-MCR/MJF

UNITED STATES OF AMERICA,

              Defendant.
                                            /

                      REPORT AND RECOMMENDATION

      This matter is before this court on Defendant’s motion for summary judgment

(Doc. 44), and Plaintiff’s motion for summary judgment (Doc. 56). For the reasons

set forth below, the undersigned respectfully recommends that Defendant’s motion

for summary judgment be granted and that Plaintiff’s motion for summary judgment

be denied.1

I.    Background

      In addressing Defendant’s motion for summary judgment the undersigned has

considered the facts in the light most favorable to Plaintiff. Plaintiff filed this suit

alleging that the Internal Revenue Service (“IRS”) wrongfully denied him a refund



1
  The case was referred to the undersigned to address preliminary matters and to
make recommendations regarding dispositive motions. See N.D. Fla. Loc. R. 72.2;
see also 28 U.S.C. § 636(b); Fed R. Civ. P. 72(b).
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of his 2012 taxes. (Doc. 12 at 7). Plaintiff’s claim for a refund is based on his alleged

eligibility for an earned income tax credit. (Doc. 12).2 The parties agree that an

earned income tax credit is considered an overpayment of taxes and is considered to

have been paid on the original due date of the tax return, rather than the actual date

the return or a claim for refund was filed. (Docs. 12 at 7, 44 at 5); see also Israel v.

United States, 356 F.3d 221, 225 (2d Cir. 2004) (noting that “amounts refundable by

operation of the EIC are deemed paid as of the filing deadline for the tax year in

question”). The parties also agree that the original filing deadline of the 2012 tax

return was April 15, 2013. (Doc. 12 and Doc. 44). Thus, the parties agree that

Plaintiff should be considered to have “paid” his 2012 taxes on April 15, 2013.

      Additionally, the parties agree that a tax return which shows an overpayment

by reasons of the earned income tax credit is deemed to contain a claim for a refund.

(See Docs. 12 at 5, 44 at 5); see also 26 C.F.R. § 301.6402-3(a)(1) (“A properly

executed individual . . . original income tax return . . . shall constitute a claim for

refund or credit within the meaning of section 6402 and section 6511 for the amount




2
  As the Supreme Court has explained, “an individual can receive the amount by
which his entitlement to an earned-income credit exceeds his tax liability” because
§ 6401(b) of the Internal Revenue Code defines that amount as an “overpayment,”
“and § 6402 provides a mechanism for disbursing overpayments, namely, the
income tax refund process.” Sorensen v. Sec’y of the Treasury of the United States,
475 U.S. 851, 859, 106 S. Ct. 1600, 1606 (1986).
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of the overpayment disclosed by such return.”). The date of the filing of the tax

return is also the date of the filing of the claim for a refund. (Id.).

       Plaintiff concedes that he did not file a tax return (or any claim for a refund)

covering his 2012 taxes by the deadline of April 15, 2013. (Doc. 12 at 5). He also

does not allege that he obtained an extension of time to file his tax return, although

he claims that he sought extensions. The parties agree that Plaintiff did not file his

first 2012 tax return until 2016. (Id.). The parties disagree, however, about the date

Plaintiff filed his 2012 return in 2016, which is central to the dispute in this case.

       Plaintiff asserts that he filed his 2012 return on March 25, 2016. (Doc. 56 at

2, 6; Doc. 56-1 at 1). In March 2016, Plaintiff apparently was incarcerated in the Bay

Correctional Facility.3 He alleges that he handed his 2012 1040 EZ tax return to a

prison official “for mailing on 3-25-16.” (Doc. 12 at 5). Further, he alleges that a

“Ms. Bailey” logged the return as being mailed on that date to “IRS Service Center

For Florida – Austin, TX, 73301-0014.” (Id.).

       Plaintiff attached a copy of this 2012 EZ form tax return to his motion for

summary judgment. (Doc. 56-4). On this tax return, Plaintiff calculated that he owed

no federal income tax for 2012 and that $446 had been withheld from his pay for



3
 Neither party specifically states that Plaintiff was incarcerated during the relevant
portions of 2016, but Plaintiff indicates that he provided his tax return to prison
personnel so that they would mail it. It is reasonable to assume, therefore, that he
was incarcerated then.
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federal taxes. (Doc. 56-4 at 2). He also claimed an earned income tax credit of $475.

(Id.). This gave him a total requested refund of $921. (Id.). The return was signed

and dated “3/27/16.” (Id.). According to Defendant, it never received this tax return.

(Doc. 44 at 3).

      In April 2016, when Plaintiff received his form W2 for 2012, he learned that

his employer actually had not withheld any federal income tax from Plaintiff’s

wages. (Doc. 44-1 at 4). Realizing that his claim for a refund should have been only

$475—the amount of the earned income tax credit—and not $921 as he had claimed,

on or about April 21, 2016, Plaintiff mailed to the IRS an amended return via the

prison mail system. (Doc. 12 at 5). Defendant received this “amended” return on

April 30, 2016. (Doc. 44 at 3).

      Plaintiff attached a copy of this amended return to his motion for summary

judgment. (Doc. 56-9). The amended return was dated “4-21-16” and stamped as

received on “04302016” in Austin, Texas by the “IRS-AUSC.” (Id.).4 On July 28,

2016, Plaintiff received a denial of claim from the IRS, explaining that the claim for




4
  Plaintiff argues that his “original” 2012 tax return must have been received by the
IRS well before April 30, 2016, because Plaintiff placed it in the prison mail system
on March 25, 2016, (Doc. 56 at ¶ 4), almost a month before he placed the amended
return in the prison mail system. Notably, the IRS considers Plaintiff’s amended
return to be his “original” return, because it purportedly never received the return
Plaintiff claims he sent prior to his amended return.
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refund was untimely. (Doc. 44-2). Plaintiff appealed and exhausted his

administrative remedies within the IRS. (Doc. 12 at 6).

       Defendant argues that Plaintiff’s claim for a refund should be deemed filed on

April 30, 2016—the date the IRS purportedly received the amended return. (Doc. 44

at 2). Defendant argues that it is entitled to summary judgment because “Plaintiff is

not entitled to a refund of his 2012 taxes because he did not pay his tax with respect

to tax year 2012 within the three-year period preceding his claim for refund.” (Doc.

44 at 1). Plaintiff argues that he is entitled to summary judgment because he provided

evidence that he filed his 2012 tax return on March 25, 2016, within the requisite

period. (Doc. 56 at 2; Doc. 56-1 at 1).

        The key issue in this case, therefore, is whether Plaintiff’s tax return should

be deemed filed on the date Plaintiff alleges that he placed it in the prison mail

system (March 25, 2016), or the date it was received by the IRS (April 30, 2016).

II.    Summary Judgment Standard

       Rule 56 of the Federal Rules of Civil Procedure states that a “court shall grant

summary judgment if the movant shows that there is no genuine dispute as to any

material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ.

P. 56(a). A “genuine” dispute exists “if the evidence is such that a reasonable jury

could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 247-48, 106 S. Ct. 2505, 2510 (1986); Hickson Corp. v. N. Crossarm

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Co., 357 F.3d 1256, 1260 (11th Cir. 2004). An issue of fact is “material” if it could

affect the outcome of the case. Anderson, 477 U.S. at 248, 106 S. Ct. at 2510;

Hickson Corp., 357 F.3d at 1259; see Haves v. City of Miami, 52 F.3d 918, 921 (11th

Cir. 1995) (“The mere existence of some factual dispute will not defeat summary

judgment unless that factual dispute is material to an issue affecting the outcome of

the case.”).

      In addition, when addressing a motion for summary judgment, a court must

decide “whether the evidence presents a sufficient disagreement to require

submission to a jury or whether it is so one-sided that one party must prevail as a

matter of law.” Hickson, 357 F.3d at 1260 (quoting Anderson, 477 U.S. at 248, 106

S. Ct. at 2510). At “the summary judgment stage the judge’s function is not himself

to weigh the evidence and determine the truth of the matter but to determine whether

there is a genuine issue for trial.” Anderson, 477 U.S at 249, 106 S. Ct. at 2510-11.

A “scintilla of evidence in support of the plaintiff’s position will be insufficient;

there must be evidence on which the jury could reasonably find for the plaintiff. The

judge’s inquiry . . . asks whether reasonable jurors could find by a preponderance of

the evidence that the plaintiff is entitled to a verdict . . . .” Anderson, 477 U.S. at

252, 106 S. Ct. at 2512.

      Finally, in evaluating a summary judgment motion, all “justifiable inferences”

must be resolved in the nonmoving party’s favor so long as there is a genuine dispute

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as to the relevant facts. Beard v. Banks, 548 U.S. 521, 529, 126. S. Ct. 2572, 2578

(2006); see Scott v. Harris, 550 U.S. 372, 380, 127 S. Ct. 1769, 1776 (2007). “Where

the record taken as a whole could not lead a rational trier of fact to find for the

nonmoving party, there is no genuine issue for trial.” Matsushita Elec. Indus. Co. v.

Zenith Radio Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 1356 (1986). “If reasonable

minds could differ as to the import of the evidence, however, a verdict should not be

directed.” Anderson, 477 U.S. at 250-51, 106 S. Ct. at 2511; Allen v. Bd. of Public

Educ. for Bibb Cty., 495 F.3d 1306, 1315 (11th Cir. 2007) (holding that summary

judgment is inappropriate if “a reasonable factfinder evaluating the evidence could

draw more than one inference from the facts, and if that inference introduces a

genuine issue of material fact”).

III.    Discussion

        A.    Timely Filing as a Prerequisite to Federal Jurisdiction

        Defendant argues that Plaintiff is not entitled to a refund of his 2012 taxes

because he did not timely file his claim within three years of payment of the 2012

taxes (April 15, 2013), as required by 26 U.S.C. § 6511. (Doc. 44 at 1). Plaintiff, on

the other hand, essentially argues that this court should apply the “prison mail box




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rule” and deem his claim filed on the date he purportedly gave it to prison officials

for mailing (March 25, 2016).5

      The United States cannot be sued without its consent and such consent is a

prerequisite to a federal court exercising jurisdiction over such a lawsuit. United

States v. Mitchell, 463 U.S. 206, 212, 103 S. Ct. 2961, 2965 (1983); United States v.

Sherwood, 312 U.S. 584, 586, 61 S. Ct. 767, 769 (1941); United States v. Timmons,

672 F.2d 1373, 1378 (11th Cir. 1982). The United States has given limited consent

“to be sued for refunds of federal taxes in a carefully articulated statutory scheme,

otherwise sovereign immunity would bar such a suit.” Hansen v. United States, 248

F.3d 761, 763 (8th Cir. 2001) (citing United States v. Brockamp, 519 U.S. 347, 350-

51, 117 S. Ct. 849, 851 (1997). Specifically, the United States has waived its

immunity from lawsuits to recover “any internal-revenue tax alleged to have been

erroneously or illegally assessed or collected.” 28 U.S.C. § 1346(a)(1); see United

States v. Williams, 514 U.S. 527, 531, 115 S. Ct. 1611, 1615 (1995); Baldwin v.

United States, 921 F.3d 836, 839 (9th Cir. 2019). A “waiver of sovereign immunity

is to be strictly construed, in terms of its scope, in favor of the sovereign.” Dep’t of

the Army v. Blue Fox, Inc., 525 U.S. 255, 261, 119 S. Ct. 687, 691 (1999).


5
  Plaintiff claims that he simply is asking this court to apply the “common-law
mailbox rule,” and not the “prison mailbox rule.” The position he advocates—
ascribing the date he provided his “original” 2012 tax return to prison officials for
mailing as the filing date—essentially would require adoption of the prison mailbox
rule to his case.
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        This waiver of immunity for tax claims is limited and must be strictly

construed. Id. For instance, a plaintiff may not initiate a civil action against the

United States for a tax refund unless and “until a claim for refund or credit has been

duly filed” with the IRS, in accordance with IRS regulations. 26 U.S.C. § 7422(a);

see United States v. Dalm, 494 U.S. 596, 609, 110 S. Ct. 1361, 1368 (1990); Baldwin,

921 F.3d at 839; Stocker v. United States, 705 F.3d 225, 230 (6th Cir. 2013). Section

7422(a)’s requirement of a timely filed administrative claim is jurisdictional.

Comm’r v. Lundy, 516 U.S. 235, 240, 116 S. Ct. 647, 651 (1996). The “Government

is ordinarily immune from suit, and . . . it may define the conditions under which it

will permit such actions.” Honda v. Clark, 386 U.S. 484, 501, 87 S. Ct. 1188, 1197

(1967).

        To be “duly filed” with the IRS, a claim for refund or credit must have been

filed within the interval set by federal law. Wachovia Bank, N.A. v. United States,

455 F.3d 1261, 1269 (11th Cir. 2006); Yuen v. United States, 825 F.2d 244, 245 (9th

Cir. 1987) (per curiam). Also, a claimant can recover only taxes paid in the three

years (plus any extensions he received) preceding his claim, assuming his claim was

timely filed. See 26 U.S.C. § 6511(a) & (b); Lundy, 516 U.S. at 240, 116 S. Ct. at

651.

        In 1916, the Supreme Court determined that filing of a tax claim “is not

complete until the document is delivered and received” by the federal government.

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United States v. Lombardo, 241 U.S. 73, 76, 36 S. Ct. 508, 509 (1916). This became

known as the “physical delivery” rule and it was the default rule for tax-refund

claims. See Baldwin v. United States, 921 F.3d 836, 840 (9th Cir. 2019); Miller v.

United States, 784 F.2d 728, 730 (6th Cir. 1986) (per curiam).

            1.     The Common Law Mailbox Rule vs. 26 U.S.C. § 7502

      To mitigate the physical-delivery rule, “some courts responded by applying

the common-law mailbox rule.” Baldwin, 921 F.3d at 840; Maine Med. Ctr. v.

United States, 675 F.3d 110, 114 (1st Cir. 2012). In 1884, the Supreme Court

acknowledged the existence of the common-law mailbox rule:

      The rule is well settled that if a letter properly directed is proved to have
      been either put into the post office or delivered to the postman, it is
      presumed, from the known course of business in the post office
      department, that it reached its destination at the regular time, and was
      received by the person to whom it was addressed.

Rosenthal v. Walker, 111 U.S. 185, 193, 4 S. Ct. 382, 386 (1884). Under this version

of the “mailbox rule,” a timely mailing creates “a rebuttable presumption that the

mailed material was received, and thereby filed.” Miller, 784 F.2d at 730 (citing In

Re Nimz Transp., Inc., 505 F.2d 177, 179 (7th Cir. 1974)); see Republic of Sudan v.

Harrison, 587 U.S. ___, 139 S. Ct. 1048, 1057 (2019) (noting that the mailbox rule

creates “a presumption that a mailed acceptance of an offer is deemed operative

when ‘dispatched’ if it is ‘properly addressed’”); Rosenthal, 111 U.S. at 193, 4 S.




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Ct. at 386 (noting that the presumption of mailing and receipt was an inference that

a trier of fact could accept).

      In 1954, Congress enacted a statute that incorporated a modified version of

the common-law mailbox rule. See 26 U.S.C. § 7502; Baldwin, 921 F.3d at 840;

Maine Med. Ctr., 675 F.3d at 114. Congress enacted § 7502 to create uniformity and

“alleviate inequities arising from differences in mail delivery from one part of the

country to another.” Miller, 784 F.2d at 730. “As originally enacted, § 7502 only

applied to the filing of tax documents other than tax returns and payments. . . . In

1966, Congress amended § 7502 to encompass tax returns and payments as well.”

Sorrentino v. IRS, 383 F.3d 1187, 1191-93 (10th Cir. 2004) (citing Act of Nov. 2,

1966, Pub. L. No. 89-713, § 5(a), 80 Stat. 1110).

      In its current version, § 7502 states in relevant part:

      If any return, claim, statement, or other document required to be filed .
      . . within a prescribe period or on or before a prescribed date . . . is, after
      such period or such date, delivered by United States mail to the agency,
      . . . the date of the United States postmark stamped on the cover in
      which such return, claim, statement, or other document, or payment, is
      mailed shall be deemed to be the date of delivery . . . .

26 U.S.C. § 7502(a)(1). Thus, under § 7502, a taxpayer who mailed a tax return or

claim can create a presumption of timely filing by proffering evidence of a United

States Postal Service postmark bearing a date within the requisite filing period.

Maine Med. Ctr., 675 F.3d at 115. So long as the IRS actually received the mailed

document, the postmark date is considered the filing date regardless of when the IRS
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actually received the document. 26 U.S.C. § 7502(a)(1); 26 C.F.R. § 301.7502-1(a)

& (e)(1); Surowka v. United States, 909 F.2d 148, 150-51 (6th Cir. 1990).6

      The regulations warn potential claimants that “the sender who relies upon the

applicability of section 7502 assumes the risk” of exceeding the deadline by virtue

of not having a timely postmark, and advises taxpayers to use certified mail to

prevent this problem. 26 C.F.R. § 301.7502-1(c)(iii)(A). Because the timely filing

of a claim is a jurisdictional prerequisite, and the party seeking to invoke federal

court jurisdiction has the burden of establishing that jurisdiction exists, the claimant

has the burden of establishing timely filing by establishing the date of the postmark.

McNutt v. Gen. Motors Acceptance Corp., 298 U.S. 178, 189, 56 S. Ct. 780, 785

(1936) (holding that the party asserting federal court jurisdiction must establish facts

supporting an exercise of jurisdiction by a preponderance of the evidence); Estate of

Wood v. Comm’r, 909 F.2d 1155, 1161 (8th Cir. 1990) (“To obtain the benefit of

section 7502, the taxpayer must offer proof of postmark—not mere evidence of




6
  Although not relevant to this case—because Plaintiff does not contend that he sent
his “original” return via certified or registered mail—a taxpayer also can establish
the filing date by mailing the tax return using certified or registered mail. See 26
U.S.C. § 7502(c); Maine Med. Ctr., 675 F.3d at 115. Under § 7502(c), when a tax
return was sent by certified or registered mail, the date of the postmark is deemed
the date of filing. 26 U.S.C. § 7502(c)(1); Huizar v. Carey, 273 F.3d 1220, 1223 n.3
(9th Cir. 2001); Thomas v. United States, 166 F.3d 825, 829 (6th Cir. 1999).

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mailing . . . .”); Miller, 784 F.2d at 729 (noting that the “taxpayer has the burden of

establishing the existence of federal court jurisdiction”).

      A plurality of Circuits—including the Second, Fifth, Sixth, and Ninth

Circuits—have concluded that § 7502 provides the exclusive means to establish the

date of filing by mail, and that Congress’s enactment of § 7502 precludes use of the

common-law mailbox rule. See Baldwin, 921 F.3d at 841-42; Miller, 784 F.2d at

730-31; Deutsch v. CIR, 599 F.2d 44, 46 (2d Cir. 1979); Drake v. Comm’r, 554 F.2d

736, 738-39 (5th Cir. 1977). This is consistent with the Supreme Court’s holding

that a waiver of sovereign immunity should be strictly construed in favor of the

sovereign and against expansion. Blue Fox, Inc., 525 U.S. at 261, 119 S. Ct. at 691;

Lane v. Pena, 518 U.S. 187, 192, 116 S. Ct. 2092, 2096 (1996). “[L]imitations and

conditions upon which the Government consents to be sued must be strictly observed

and exceptions thereto are not to be implied.” Lehman v. Nakshian, 453 U.S. 156,

161, 101 S. Ct. 2698, 2702 (1981).

       Additionally, pursuant to statutory authorization, the Secretary of the

Treasury promulgated a regulation which—consistent with the Second, Fifth, Sixth,

and Ninth Circuits—limits the evidence of the date of mailing to the postmark,

except in case in which the postmark is illegible. See 26 C.F.R. § 301.7502-1(c) and

(e)(1). In the words of the Ninth Circuit:

      The statute as implemented places emphasis on the reliability of an
      official post office certification as evidence of timely mailing. We will
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      not create an additional substitute for timely filing by allowing
      secondary evidence to be offered in lieu of the tangible evidence of
      official third-party certification favored by Congress and the Secretary.

Shipley v. Comm’r of Internal Revenue, 572 F.2d 212, 213 (9th Cir. 1977) (per

curiam).

      In contrast, the Third, Eighth, and Tenth Circuits have held that § 7502 simply

provides two means of establishing the date that a document was filed by mail, but

that the common-law mailbox rule also remains a viable option. See Phila. Marine

Trade Assoc.-Int’l Longshoremen’s Assoc. Pension Fund v. CIR, 523 F.3d 140, 147

(3d Cir. 2007);7 Estate of Wood v. CIR, 909 F.2d 1155, 1160 (8th Cir. 1990);

Sorrentino, 383 F.3d 1187 at 1191-93.8




7
  But see Boccuto v. Comm’r, 277 F.2d 549, 553 (3d Cir. 1960) (noting that the court
was “obliged to look at the date of postmark stamped on the envelope” and not when
the taxpayer submitted the envelope to the post office for mailing).
8
  More recently, the Tenth Circuit has limited and called into question its decision in
Sorrentino. See Crook v. Comm’r Of Internal Revenue Serv., 173 F. App’x 653, 657
(10th Cir. 2006) (stating that the Tenth Circuit has “not yet decided whether § 7502
provides the exclusive method by which timely mailing can be proven” and opining
that “Sorrentino is equivocal at best”).

The Ninth Circuit previously held that the common-law mailbox rule survived the
enactment of § 7502. See Anderson v. United States, 966 F.2d 487, 489-90 (9th Cir.
1992). More recently, however, the Ninth Circuit held that § 7502 “provides the
exclusive means to prove delivery” and “recourse to the common-law mailbox rule
is no longer available.” Baldwin, 921 F.3d at 841-42.

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      This court must follow the precedent established by the Eleventh Circuit. In

re Hubbard, 803 F.3d 1298, 1309 (11th Cir. 2015) (“[C]ourts of this circuit are

bound by the precedent of this circuit.”). The Eleventh Circuit adopted as precedent

the decisions issued by the Court of Appeals for the Fifth Circuit prior to October 1,

1981. Bonner v. City of Prichard, 661 F.2d 1206, 1209-10 (11th Cir. 1981).

Accordingly, in addition to the decisions of the Eleventh Circuit, this court is bound

by the decisions of the Fifth Circuit as it existed prior to the creation of the Eleventh

Circuit. Generali v. D’Amico, 766 F.2d 485, 489 (11th Cir. 1985). Thus, the decision

issued in 1977 by the Fifth Circuit in Drake is binding precedent for this court. See

Drake, 554 F.2d at 736-39; see also Pugsley v. C.I.R., 749 F.2d 691, 693 (11th Cir.

1985) (citing with approval the Fifth Circuit’s explanation that the language of

section 7502 is “clear, explicit, and strictly limited”). As noted above, Drake held

that the language of section 7502 supplanted the common-law mailbox rule. Drake,

554 F.2d at 739. As the Fifth Circuit stated, “to create an exception where the

undisputed facts clearly fall within the literal and unambiguous language of the

statute would do violence to the statutory scheme and substantially undermine the

purpose of the provision.” Drake, 554 F.2d at 739.

      To the extent Plaintiff attempts to rely on the prison mailbox rule, it is worth

noting the limited scope of that rule. The Supreme Court created the prison mailbox

rule when it held that—for purposes of Rule 4(a)(1) of the Federal Rules of Appellate

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Procedure—a notice of appeal that a pro se prisoner sought to file in a federal court

of appeals should be considered filed on the date the prisoner delivered it “to the

prison authorities for forwarding to the court clerk.” Houston v. Lack, 487 U.S. 266,

275, 108 S. Ct. 2379, 2385 (1988); Daker v. Comm’r, Ga. Dep’t of Corrs., 820 F.3d

1278, 1286 (11th Cir. 2016). In reaching its decision, the Court reasoned that the

word “filed” was ambiguous insofar as neither Rule 4(a)(1) nor the applicable statute

set “forth criteria for determining the moment at which . . . ‘filing’ has occurred.”

Houston at 272-76, 108 S. Ct. 2383-85; Bonilla v. United States Dep’t of Justice,

535 F. App’x 891, 893 (11th Cir. 2013). Additionally, in creating the prison mailbox

rule, the Supreme Court never stated that the rule applies to every document a

prisoner seeks to mail. Rather, the rule announced by the Supreme Court applied

only to notices of appeal submitted to federal courts of appeals, and was

subsequently codified consistent with that limitation. See Fed. R. App. P. 4(c).

      Other courts expanded the rule announced in Houston v. Lack to apply the

prison mailbox rule to other court filings. See Edwards v. United States, 266 F.3d

756, 758 (7th Cir. 2001) (per curiam) (noting that courts expanded the prison

mailbox rule to include many other types of court filings). This expansion was

codified to apply to appellate documents and habeas petitions filed with federal

courts. See Fed. R. App. P. 25(a)(2)(A)(iii); Fed. R. Bankr. P. 8002(c); Rules

Governing Section 2254 Proceedings For the United States District Courts, Rule

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3(d); Rules Governing Section 2255 Proceedings For the United States District

Courts, Rule 3(d).

      Consistent with its historical roots, in the Eleventh Circuit, the prison mailbox

rule is limited to filings made to courts. See Williams v. McNeil, 557 F.3d 1287, 1290

n.2 (11th Cir. 2009) (“Under the ‘prison mailbox rule,’ a pro se prisoner’s court

filing is deemed filed on the date it is delivered to prison authorities for mailing.”)

(emphasis added); Garvey v. Vaughn, 993 F.2d 776, 783 (11th Cir. 1993) (holding

that the prison mailbox rule announced in Houston applies to pro se prisoners

seeking to file in federal courts complaints under 42 U.S.C. § 1983 and the Federal

Tort Claims Act) (emphasis added). Plaintiff has not cited any authority

demonstrating that the prison mailbox rule applies to tax returns submitted to prison

officials for mailing to the IRS.

      Furthermore, the Supreme Court’s holding in Fex v. Michigan strongly

suggests that the prison mailbox rule does not apply generally to all documents a

prisoner seeks to mail to government entities. 507 U.S. 43, 47, 113 S. Ct. 1085, 1089

(1993). In that case, the prisoner sought to apply the prison mailbox rule to a request

for disposition under the Interstate Agreement on Detainers that he had provided to

prison officials to mail. Fex, 507 U.S. at 46, 113 S. Ct. at 1088. In determining the

date the document was “caused to be delivered,” the Supreme Court did not apply

the prison mailbox rule and instead held that the document was “caused to be

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delivered” on the date the prosecutor’s office and court received the request, and not

on the date the inmate gave the request to prison officials for mailing. Fex, 507 U.S.

at 47, 113 S. Ct. at 1089.

      Other courts have noted that “the prison mailbox rule does not apply when

there is a ‘specific statutory or regulatory regime’ governing the filing at issue.”

Crook v. Comm’r of Internal Revenue Serv., 173 F. App’x 653, 656 (10th Cir. 2006)

(quoting Longenette v. Krusing, 322 F.3d 758, 763 (3d Cir. 2003)); Smith v. Conner,

250 F.3d 277, 277, 279 (5th Cir. 2001); Nigro v. Sullivan, 40 F.3d 990, 994-95 (9th

Cir. 1994). More specifically, when the particular statute defines the term “filing” or

“filed”—as § 7502 essentially does—courts have seen no reason to usurp a statutory

or regulatory definition by resorting to the prison mailbox rule. See Crook, 173 F.

App’x at 656 (interpreting the word “filed” defined in Section 7502(a)(1) of the

Internal Revenue Code); Smith, 250 F.3d at 279 (holding that the court “shall resort

to Houston if the rule does not clearly define filing” and in all other cases the court

“will enforce the regulations as written”); Nigro, 40 F.3d at 994 (noting that the

prison-mailbox rule did not apply because the administrative regulations defined the

word “filed” as “when the receipt is issued.”).

      This is consistent with the respect courts must show to the statutory text. It is

also consistent with the rule of statutory construction that a statutory definition of a

term excludes unstated potential definitions of that term. See Meese v. Keene, 481

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U.S. 465, 484, 107 S. Ct. 1862, 1873 (1987) (“It is axiomatic that the statutory

definition of the term excludes unstated meanings of that term.”); Colautti v.

Franklin, 439 U.S. 379, 392-93, n.10, 99 S. Ct. 675, 684 n.10 (1979) (“As a rule,

‘[a] definition which declares what a term “means” . . . excludes any meaning that

is not stated.’”). Because Congress’s definition of “filed” in § 7502 did not include

a statement that a document would be considered filed when delivered to prison

officials, there is no reason to think that Congress intended to have the prison

mailbox rule apply.

        This also is consistent with the Fifth Circuit’s holding in Drake that § 7502

precludes application of the common-law mailbox rule. Congress has not indicated

that the prison mailbox rule is excepted from the preclusive effect of § 7502. That

is, a claimant’s imprisonment does not afford the claimant additional time to mail

documents to the IRS beyond that already afforded by § 7502. See Rich v. Comm’r

of Internal Revenue, 250 F.2d 170, 175 (5th Cir. 1957) (holding that, in light of §

7502, absent a postmark showing a timely filing, a document for the Tax Court was

not timely filed by a prisoner merely because he delivered it to prison officials for

mailing). Congress also has not indicated that its limited waiver of sovereign

immunity should be expanded by application of the common-law or prison mailbox

rule.




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      The only question remaining, therefore, is whether Plaintiff has created a

genuine issue regarding timely filing under the requirements of § 7502.

             2.     Application of § 7502 to this Case

      Plaintiff has not alleged that he filed his return (and claim for refund) using

registered or certified mail. (Doc. 12 at 5). Plaintiff, therefore, can rely only on a

United States Postal Service postmark to establish the timeliness of his filing. 26

U.S.C. § 7502(a) (“the date of the United States postmark stamped on the cover in

which such return . . . or other document . . . is mailed shall be deemed to be the date

of delivery . . . .”). Plaintiff, however, has not provided the postmarked envelope

demonstrating that he mailed his return within the requisite period. Instead, he

attempts to rely on an unsigned note purportedly from “Classification Counselor

Mrs. Doll.” (Doc. 56-5).9 In that unsigned note, Mrs. Doll states that “[o]n 3/25/16

Mailroom Staff Ms. Bailey sealed, timestamped and post-dated the 2012 tax return.


9
 This court may not consider unsigned notes or affidavits in support of or in response
to a motion for summary judgment. Rule 56(c) does not authorize a party to support
or oppose a motion for summary judgment by producing an unsworn affidavit or
note. An “unsigned affidavit is not sufficient evidence in support of a motion for
summary judgment.” Mason v. Clark, 920 F.2d 493, 495 (8th Cir. 1990); Pension
Benefit Guar. Corp. v. Heppenstall Co., 633 F.2d 293, 300 (3d Cir. 1980) (noting
that because an “affidavit was unsigned it was not in evidence and could not provide
any basis for denying the summary judgment motions”). Indeed, “an ‘unsigned
affidavit’ is a contradiction in terms. By definition an affidavit is a ‘sworn statement
in writing made . . . under an oath or on affirmation before . . . an authorized officer.’”
Mason, 920 F.2d at 495 (quoting WEBSTER’S THIRD NEW INTERNATIONAL
DICTIONARY 35 (1965)).

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This is logged in the legal/privileged mail log.” (Id.). Plaintiff also submitted a copy

of his “original” return (Doc. 56-4 at 2-3), his amended return (Doc. 56-9 at 3-5),

and affidavits of inmates who helped or observed him preparing his 2012 tax return

in 2016. (Doc. 56-1 at 4, 6). As discussed above, none of this evidence suffices

because none of this evidence entails a postmark, as required by § 7502 as discussed

above. Accordingly, Plaintiff’s claim for a refund is deemed filed on the date it was

received by the IRS: April 30, 2016. Drake, 554 F.2d at 739; Rich, 250 F.2d at 175.

       It is undisputed that, for purposes of an earned income tax credit, the law

considers Plaintiff’s 2012 taxes to be paid on April 15, 2013 (the date his 2012 tax

return was due). See Israel, 356 F.3d at 225. Plaintiff’s claim for a refund, therefore,

was filed more than three years after the date the tax was paid. Federal law precludes

claims for refunds filed more than three years after that tax was paid. See 26 U.S.C.

§ 6511(b).10 Under the law, therefore, Plaintiff is not entitled to a refund, and this

court lacks the ability to award a refund to Plaintiff, because a timely filed refund

request is a prerequisite to a court’s jurisdiction over a refund claim. See 26 U.S.C.

§ 7422(a); Dalm, 494 U.S. at 601-02, 110 S. Ct. at 1365 (“[U]nless a claim for refund

of a tax has been filed within the time limits imposed [under federal law], a suit for



10
  Plaintiff asserts that the IRS acted arbitrarily and capriciously in denying his claim.
(Doc. 56 at 16-17). Because application of § 6511(b) required the IRS to deny
Plaintiff’s claim, Plaintiff cannot show that the IRS acted arbitrary or capriciously
in doing so.
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refund . . . may not be maintained in any court.”). When “the requirements of §

7422(a) are not met, a court has no subject matter jurisdiction to hear the claim for

refund.” Wachovia Bank, N.A., 455 F.3d at 1264. Accordingly, there is no genuine

dispute as to any material fact, and Defendant is entitled to judgment as a matter of

law.

       B.    Equitable Estoppel

       To avoid the consequences of his late filing, Plaintiff asserts that Defendant

should be estopped from invoking § 6511’s three-year deadline because the IRS sent

him a disallowance letter—dated and sent to Plaintiff on May 5, 2017— in which

the IRS incorrectly stated that May 15, 2016, was Plaintiff’s (already expired)

deadline to file his claim for 2012 taxes. (Doc. 56-13 at 2). Plaintiff intimates that

he relied on this letter (Doc. 56-13), even though the IRS issued this letter on May

5, 2017, more than a year after the deadline to file his return had expired (April 15,

2016), and long after the date Plaintiff claims that he sent his initial 2012 tax return

to the IRS (March 25, 2016).

       “The question of whether equitable estoppel is ever available against the

federal government is unresolved,” but it is clear that the party asserting estoppel

against the government has a heavy burden. Ferry v. Hayden, 954 F.2d 658, 661

(11th Cir. 1992) (citing Heckler v. Cmty. Health Servs., 467 U.S. 51, 61, 104 S. Ct.




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2218, 2224 (1984));11 see Tefel v. Reno, 180 F.3d 1286, 1302 (11th Cir. 1999);

Feldman v. C.I.R., 20 F.3d 1128, 1134 (11th Cir. 1994) (holding that “equitable

estoppel will lie against the government only in the most extreme circumstances”).

In the Eleventh Circuit, the defense of estoppel may be employed against the

government only when: (1) the traditional elements of estoppel are pleaded;12 (2) the

government acted in a proprietary or private capacity as opposed to its sovereign

capacity, (3) the government agent was acting within the scope of his authority; and

(4) the government committed some affirmative misconduct. United States v.

McCorkle, 321 F.3d 1292, 1297 (11th Cir. 2003); Tefel, 180 F.3d at 1303; United

States v. Killough, 848 F.2d 1523, 1526 (11th Cir. 1988); United States v. Vonderau,



11
  The Supreme Court noted a sound reason for not applying the doctrine of equitable
estoppel against the government:

       When the Government is unable to enforce the law because the conduct
       of its agents has given rise to an estoppel, the interest of the citizenry
       as a whole in obedience to the rule of law is undermined. It is for this
       reason that it is well settled that the Government may not be estopped
       on the same terms as any other litigant.

Heckler, 467 U.S. at 60, 104 S. Ct. at 2224.
12
  The traditional elements of estoppel are: (1) the words, acts, or conduct of a person
caused another person to believe in the existence of a certain state of things; (2) the
person was willful or negligent with respect to his words, acts or conduct; and (3)
the other person detrimentally relied on the words acts or conduct of the first person.
Tefel, 180 F.3d at 1302 (citing Fed. Deposit Ins. Corp. v. Harrison, 735 F.2d 408,
413 (11th Cir. 1983)); United States v. Aetna Ins. Co., 923 F.2d 1521, 1526 (11th
Cir. 1991).
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837 F.2d 1540, 1541 (11th Cir. 1988) (citing Fed. Deposit Ins. Corp. v. Harrison,

735 F.2d 408, 410 (11th Cir. 1984)). “Affirmative misconduct requires more than

governmental negligence or inaction; otherwise, prong two and prong four would be

redundant.” McCorkle, 321 F.3d at 1297.

      Plaintiff has failed to establish the elements of an equitable estoppel defense

in at least four ways. Each and every one of these failures precludes the applicability

of this defense.

             1.     Failure to Demonstrate Proprietary Action

      First, Plaintiff failed to create a genuine issue that the IRS acted in a private

or proprietary capacity. “Activities undertaken by the government primarily for the

commercial benefit of an individual agency are subject to estoppel while actions

involving the exercise of exclusively government or sovereign powers are not.”

Harrison, 735 F.2d at 411. “Proprietary governmental functions include essentially

commercial transactions involving the purchase or sale of goods and services and

other activities for the commercial benefit of a particular government agency.” Id.

Sovereign functions, on the other hand, are those “unique government functions”

undertaken “for the benefit of the whole public.” Id.

      The Constitution provides that “Congress shall have Power To lay and collect

Taxes . . . .” U.S. CONST. art I, § 8, cl. 1; Id. amend XVI. Thus, the Supreme Court

has held that the power to promulgate and enforce tax laws is an essential attribute

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of sovereignty. Franchise Tax Bd. of Cal. v. Hyatt, 538 U.S. 488, 498, 123 S. Ct.

1683, 1690 (2003); see also Harrison, 735 F.2d at 411 (citing Auto. Club of Mich.

v. Comm’r, 353 U.S. 180, 77 S. Ct. 707 (1957)). Determinations of whether a person

is entitled to a tax refund clearly falls within the Government’s sovereign function

of taxing. As such, Plaintiff has failed to establish that the Government was acting

in a proprietary or private capacity.

             2.     Failure to Demonstrate Affirmative Misconduct

      Second, Plaintiff has not created a genuine issue that the IRS committed

affirmative misconduct regarding his 2012 tax return. For the doctrine of equitable

estoppel to apply, the Eleventh Circuit requires an affirmative showing that the

government engaged in misconduct. Savoury v. United States Attorney Gen., 449

F.3d 1307, 1319 (11th Cir. 2006) (citing McCorkle, 321 F.3d at 1297). This requires

more than a “showing of governmental negligence or inaction.” Id. Here, Plaintiff

attached the Defendant’s response to his interrogatories in which Defendant

admitted that the IRS erroneously told Plaintiff that his (expired) filing deadline was

May 15, 2016. (Doc. 56-15 at 4). Plaintiff also argues that the IRS admitted that it

makes mistakes. There is no dispute that the IRS was mistaken when it told

Plaintiff—long after the filing deadline—that his filing deadline for his 2012 tax




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return was May 15, 2016.13 Plaintiff has not shown, however, that the IRS’s mistaken

assertion was more than mere negligence. See Savoury, 449 F.3d at 1319; Feldman,

20 F.3d at 1134 (holding that “equitable estoppel will lie against the government

only in the most extreme circumstances”). Considered in the light most favorable to

Plaintiff, he has failed to create a genuine issue as to whether the IRS committed

misconduct warranting estoppel.

             3.     Failure to Demonstrate Reasonable Reliance

       Third, Plaintiff has not created a genuine issue regarding reasonable reliance

on the IRS’s erroneous assertion. A party asserting the defense of equitable estoppel

“must have relied on its adversary’s conduct ‘in such a manner as to change his

position for the worse,’ and that reliance must have been reasonable in that the party

claiming the estoppel did not know nor should it have known that its adversary’s

conduct was misleading.” Heckler, 467 U.S. at 59, 104 S. Ct. at 2223 (quoting 3

JOHN N. POMEROY, EQUITY JURISPRUDENCE § 805, p. 192 (S. Symons ed. 1941))

(period and footnote omitted). In order for reliance on a misrepresentation to be

reasonable, the party claiming estoppel must show that he did not know, nor should

have known, the truth. Heckler, 467 U.S. at 59, 104 S. Ct. at 2223; Nat’l Cos. Health


13
   Plaintiff notes that the IRS contradicted itself when it stated that it received his
claim for a refund on two different dates (May 11, 2016 and April 30, 2016), both
of which cannot be true. (Doc. 56 at 16-17). Defendant implicitly has conceded that
the IRS’s assertion that it received Plaintiff’s amended 2012 tax return in May is an
error. (Doc. 44 at 2). Such an error is not “misconduct” that warrants estoppel.
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Ben. Plan v. St. Joseph’s Hos. of Atlanta, Inc., 929 F.2d 1558, 1572 (11th Cir. 1991),

abrogated on other grounds by, Geissal v. Moore Med. Corp., 524 U.S. 74, 118 S.

Ct. 1869 (1998).

      The disallowance letter undermines Plaintiff’s argument that he reasonably

relied on the erroneous date. The letter states in relevant part:

      We can only credit or refund an overpayment on a return you file within
      3 years from its due date. We consider tax you withheld and estimated
      tax as paid on the due date (i.e. April 15) for filing your tax return.

(Doc. 56-13 at 2) (emphasis added). Although the letter also incorrectly states that

the expired deadline to have submitted a return was May 15, 2016, the letter clearly

indicates that Plaintiff would need to have filed his return “within 3 years from its

due date.” (Doc. 56-13 at 2). The letter also plainly identified the due date for the

tax return as April 15. (Id.). Three years after April 15, 2013, was April 15, 2016.

Read in its entirety, therefore, the letter provided contradictory information.

      No reasonable person would rely on contradictory information, especially

because the erroneous portion of the letter contradicted the relevant statute. Congress

clearly stated the deadline for filing Plaintiff’s claim in § 6511(b)(2)(A). Once

Congress has clearly spoken on an issue via a statute, an agency letter contradicting

the statute is necessarily “unreasonable,” thus obviating a claim of reasonable

reliance on such a letter. See Entergy Corp v. Riverkeeper, Inc., 556 U.S. 208, 218

n.4, 129 S. Ct. 1498, 1505 n.4 (2009). In short, a person cannot reasonably rely on a

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written statement from a government agent that is contrary to statutory law. Heckler,

467 U.S. at 63, 104 S. Ct. at 2225. The “United States is neither bound nor estopped

by acts of its officers or agents . . . to do or cause to be done what the law does not

sanction or permit.” Utah Power & Light Co. v. United States, 243 U.S. 389, 409,

37 S. Ct. 387, 391 (1917). For this reason, too, Plaintiff has failed to establish that

the equitable estoppel doctrine applies to this case.

             4.     Failure to Demonstrate Detrimental Reliance

      Finally, Plaintiff has not shown that he detrimentally relied on the IRS letter.

Detrimental reliance is an essential element of equitable estoppel. Lyng v. Payne,

476 U.S. 926, 935, 106 S. Ct. 2333, 2339 (1986) (“An essential element of any

estoppel is detrimental reliance on the adverse party’s misrepresentations . . . .”);

Republic of Ecuador v. Chevron Corp., 638 F.3d 384, 400 (2d Cir. 2011); Savoury,

449 F.3d at 1319. To demonstrate detrimental reliance, a party must establish that

his reliance on a statement deprived him of something to which he was entitled of

right. Heckler, 467 U.S. at 62, 104 S. Ct. at 2225. It is temporally impossible for

Plaintiff to demonstrate that in March or April 2016, when he was deciding when to

mail his 2012 tax return, he relied on a letter that the IRS did not even send to him

until May 2017. Plaintiff has not created a genuine issue regarding detrimental

reliance because he has not shown that any reliance on the IRS letter deprived him

of something he had a right to enjoy.

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        Accordingly, assuming arguendo that the doctrine of equitable estoppel

applies against the government, for each of these reasons, Plaintiff cannot show that

it applies in this case.

IV.     Conclusion

        For the reasons set forth above, the undersigned respectfully

RECOMMENDS that:

        1.    Defendant’s Motion for Summary Judgment (Doc. 44) be GRANTED

and Plaintiff’s Motion for Summary Judgment (Doc. 56) be DENIED.

        2.    The Clerk of the Court be directed to enter judgment in favor of

Defendant on Plaintiff’s claims.

        3.    The Clerk of the Court be directed to close the file.

        At Panama City, Florida, this 27th day of August, 2019.

                                          /s/ Michael J. Frank
                                          Michael J. Frank
                                          United States Magistrate Judge




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                     NOTICE TO THE PARTIES

        Objections to these proposed findings and recommendations
  must be filed within fourteen (14) days after being served a copy
  thereof. Any different deadline that may appear on the electronic
  docket is for the court’s internal use only, and does not control. A
  copy of objections shall be served upon all other parties. If a party
  fails to object to the magistrate judge's findings or
  recommendations as to any particular claim or issue contained in
  a report and recommendation, that party waives the right to
  challenge on appeal the district court’s order based on the
  unobjected-to factual and legal conclusions. See 11th Cir. Rule 3-
  1; 28 U.S.C. § 636.




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